686 F.2d 261
    29 Fair Empl.Prac.Cas.  1442,30 Empl. Prac. Dec. P 33,125Mariano S. FALCON, Plaintiff-Appellee Cross-Appellant,v.GENERAL TELEPHONE COMPANY OF THE SOUTHWEST,Defendant-Appellant Cross-Appellee.
    No. 78-3587.
    United States Court of Appeals,Fifth Circuit.*
    Sept. 20, 1982.
    
      E. Russell Nunnally, Dallas, Tex., Stephen W. Holt, San Angelo, Tex., for defendant-appellant cross-appellee.
      John E. Collins, Irving, Tex., Frank P. Hernandez, Garland, Tex., for plaintiff-appellee cross-appellant.
      Appeals from the United States District Court for the Northern District of Texas, Sarah Tilghman Hughes, Judge.
      ON REMAND FROM THE SUPREME COURT OF THE UNITED STATES
      Before TUTTLE, RANDALL and TATE, Circuit Judges.
      PER CURIAM:
    
    
      1
      The judgment of this Court, affirming the certification order of the trial court, 647 F.2d 633 (5th Cir. 1981), having been reversed by the Supreme Court and the case having been "remanded for further proceedings consistent with this opinion" --- U.S. ----, 102 S.Ct. 2364, 72 L.Ed.2d 740 (1982), this case is now remanded to the district court for further proceedings consistent with this opinion of the Supreme Court, and with the earlier opinion of the Court, 450 U.S. 1036, 101 S.Ct. 1752, 68 L.Ed.2d 234 (1981).  We reinstate such parts of our original opinion in Falcon v. General Telephone Co. of the Southwest, 626 F.2d 369 (5th Cir. 1980), as are not affected by these two decisions of the Supreme Court.
    
    
      
        *
         Former Fifth Circuit case, Section 9(1) of Public Law 96-452-October 14, 1980
      
    
    